MEETING RESCHEDULED DUE TO APPOINTMENT OF NEW
TRUSTEE
Information to identify the case:
Debtor
               HWC Burbs Burgers LLC                                                          EIN:   84−4955933
               Name

United States Bankruptcy Court      Western District of Washington                             Date case filed in chapter:          11      10/9/23
                                                                                               Date case converted to chapter:
Case number:       23−11919−MLB                                                                                                      7      2/23/24

Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                            08/21

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                       HWC Burbs Burgers LLC

2. All other names used in the
   last 8 years
3. Address                                  5617 236th Ave., NE
                                            Redmond, WA 98053

4. Debtor's attorney                        Thomas D Neeleman                                                    Contact phone 425−212−4800
                                            Neeleman Law Group
   Name and address                         1403 8th Street                                                      Email: courtmail@neelemanlaw.com
                                            Marysville, WA 98270

5. Bankruptcy trustee                       Edmund J Wood                                                        Contact phone 206−623−4382
                                            303 N 67th St
   Name and address                         Seattle, WA 98103                                                    Email: ewood1@aol.com

6. Bankruptcy clerk's office                700 Stewart St, Room 6301                                            Hours open 8:30 am − 4:30 pm
                                            Seattle, WA 98101                                                    Monday − Friday
   Documents in this case may be
   filed at this address. You may
   inspect all records filed in this case                                                                        Contact phone 206−370−5200
   at this office or online at
   https://pacer.uscourts.gov.                                                                                   Date: 2/23/24

7. Meeting of creditors                     March 25, 2024 at 11:00 AM                                           Location:
   The debtor's representative must
   attend the meeting to be                 The meeting may be continued or adjourned to a           Telephonic Creditors Meeting
   questioned under oath. Creditors                                                                  Conference Line: 1−866−763−1542
                                            later date. If so, the date will be on the court docket. Participant Code: 4624291
   may attend, but are not required to
   do so.
                                                      *** Valid photo identification required ***

8. Proof of claim                           No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
   Please do not file a proof of            If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
   claim unless you receive a notice        that you may file a proof of claim and stating the deadline.
   to do so.

9. Creditors with a foreign                 If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                                  extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                            any questions about your rights in this case.

                                                                                                              For more information, see page 2 >

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Debtor HWC Burbs Burgers LLC                                                                                  Case number 23−11919−MLB


Notice of Potential Dismissal
If the debtor fails to file required schedules, statements or lists within 15 days from the date the petition is filed, or object to
dismissal of the case indicating why dismissal is not appropriate, the case may be dismissed without further notice. If the
Debtor(s) fails to appear at the meeting of creditors, the U.S. Trustee may apply for an order of dismissal without further notice.
Anyone can register for the Electronic Bankruptcy Noticing program at ebn.uscourts.gov OR (2) Debtors can register for DeBN
by filing local form DeBN Request Form with the Clerk of Court. Both options are FREE and allow the clerk to quickly send you
court−issued notices and orders by email.




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